Case 21-41487-mxm7 Doc 3 Filed 06/22/21 Entered 06/22/21 16:09:16 Page 1 of 1

Certificate Number: 17082-TXN-CC-035203920

17082-TXN.

OC-035203920

CERTIFICATE OF COUNSELING

I CERTIFY that on December 23, 2020, at 12:54 o'clock PM MST, TONI M
CAVINESS received from Summit Financial Education, Inc., an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Northern District of
Texas, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: December 23, 2020 By: /sfRita Duarte
Name: Rita Duarte

Title: Certified Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 
